Case 1:19-cv-00445-JTN-SJB ECF No. 15 filed 09/05/19 PageID.210 Page 1 of 6




                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION



GARY ROADARMEL,

               Plaintiff,                                    Hon. Janet T. Neff

v.                                                           Case No. 1:19-CV-445

JARED HOPKINS,

            Defendant.
____________________________________/
                             REPORT AND RECOMMENDATION

               This matter is before the Court on Defendant’s Motion for Summary Judgment. (ECF

No. 10). Pursuant to 28 U.S.C. ' 636(b)(1)(B), the undersigned recommends that Defendant’s motion

be granted and this matter terminated.

                                          BACKGROUND

               Plaintiff, Gary Roadarmel, initiated this action on June 10, 2019, against attorney Jared

Hopkins. (ECF No. 1). In his complaint, including the attachments thereto, Plaintiff alleges the

following. As of December 30, 2014, Plaintiff’s son, Andrew Roadarmel, was a potential suspect in

a criminal sexual conduct investigation. On this date, Plaintiff and his son spoke with attorney Jared

Hopkins who agreed to represent Andrew Roadarmel in the event he was criminally charged. Andrew

Roadarmel was subsequently charged with First Degree Criminal Sexual Conduct involving a minor.

Hopkins was retained to represent Roadarmel for a fee of $10,000.00, of which, Plaintiff paid

$9,500.00. Andrew Roadarmel later pleaded guilty to one count of Second Degree Criminal Sexual

Conduct for which he was sentenced to serve 6-15 years in prison.
Case 1:19-cv-00445-JTN-SJB ECF No. 15 filed 09/05/19 PageID.211 Page 2 of 6




               Plaintiff asserts that his son is not guilty of the crime to which he pleaded guilty.

Plaintiff further alleges that Defendant, by failing to secure a more favorable outcome for Andrew

Roadarmel, violated Plaintiff’s Sixth Amendment “right to paid counsel.”               Plaintiff seeks the

following relief: (1) to have his son’s criminal case “recalled” to the trial court for further proceedings;

(2) a refund of the fees he paid to Defendant for his services; and (3) an award of monetary damages

in the amount of $6,250,000.00. Defendant now moves for summary judgment. Plaintiff has

responded to the motion.

                               SUMMARY JUDGMENT STANDARD

               Summary judgment Ashall@ be granted Aif the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.@ Fed. R.

Civ. P. 56(a). A party moving for summary judgment can satisfy its burden by demonstrating Athat

the respondent, having had sufficient opportunity for discovery, has no evidence to support an essential

element of his or her case.@ Minadeo v. ICI Paints, 398 F.3d 751, 761 (6th Cir. 2005). Once the

moving party demonstrates that Athere is an absence of evidence to support the nonmoving party=s

case,@ the non-moving party Amust identify specific facts that can be established by admissible

evidence, which demonstrate a genuine issue for trial.@ Amini v. Oberlin College, 440 F.3d 350, 357

(6th Cir. 2006).

               While the Court must view the evidence in the light most favorable to the non-moving

party, the party opposing the summary judgment motion Amust do more than simply show that there

is some metaphysical doubt as to the material facts.@ Ibid. The existence of a mere Ascintilla of

evidence@ in support of the non-moving party=s position is insufficient. Daniels v. Woodside, 396

F.3d 730, 734-35 (6th Cir. 2005). The non-moving party Amay not rest upon [his] mere allegations,@

                                                    -2-
Case 1:19-cv-00445-JTN-SJB ECF No. 15 filed 09/05/19 PageID.212 Page 3 of 6




but must instead present Asignificant probative evidence@ establishing that Athere is a genuine issue for

trial.@ Pack v. Damon Corp., 434 F.3d 810, 813-14 (6th Cir. 2006).

               Moreover, the non-moving party cannot defeat a properly supported motion for

summary judgment by Asimply arguing that it relies solely or in part upon credibility determinations.@

Fogerty v. MGM Group Holdings Corp., Inc., 379 F.3d 348, 353 (6th Cir. 2004). Rather, the non-

moving party Amust be able to point to some facts which may or will entitle him to judgment, or refute

the proof of the moving party in some material portion, and. . .may not merely recite the incantation,

>Credibility,= and have a trial on the hope that a jury may disbelieve factually uncontested proof.@ Id.

at 353-54. In sum, summary judgment is appropriate Aagainst a party who fails to make a showing

sufficient to establish the existence of an element essential to that party=s case, and on which that party

will bear the burden of proof at trial.@ Daniels, 396 F.3d at 735.

               While a moving party without the burden of proof need only show that the opponent

cannot sustain his burden at trial, a moving party with the burden of proof faces a Asubstantially higher

hurdle.@ Arnett v. Myers, 281 F.3d 552, 561 (6th Cir. 2002). Where the moving party has the burden,

Ahis showing must be sufficient for the court to hold that no reasonable trier of fact could find other

than for the moving party.@ Calderone v. United States, 799 F.2d 254, 259 (6th Cir. 1986). The

Sixth Circuit has emphasized that the party with the burden of proof Amust show the record contains

evidence satisfying the burden of persuasion and that the evidence is so powerful that no reasonable

jury would be free to disbelieve it.@ Arnett, 281 F.3d at 561. Thus, summary judgment in favor of

the party with the burden of persuasion Ais inappropriate when the evidence is susceptible of different

interpretations or inferences by the trier of fact.@ Hunt v. Cromartie, 526 U.S. 541, 553 (1999).




                                                   -3-
Case 1:19-cv-00445-JTN-SJB ECF No. 15 filed 09/05/19 PageID.213 Page 4 of 6




                                                ANALYSIS

                  I.     State Action

                  Plaintiff initiated this action pursuant to 42 U.S.C. § 1983, alleging that his Sixth

Amendment rights were violated. Section 1983 authorizes a plaintiff to initiate a civil action against

any person who violates his rights under color of state law. See 42 U.S.C. § 1983. In other words,

a § 1983 action can only be asserted against an individual (or entity) properly characterized as a “state

actor.” See Thomas v. Nationwide Children’s Hospital, 882 F.3d 608, 612-14 (6th Cir. 2018).

Defendant, however, is a private actor against whom Plaintiff cannot assert a violation of his Sixth

Amendment rights. See Pedraza v. King, 2013 WL 6330655 at *2 (N.D. Tex., Dec. 5, 2013) (“private

attorneys are not ‘state actors’ and cannot be sued under 42 U.S.C. § 1983”); Mink v. General Motors

Corp., 1997 WL 428909 at *1 (6th Cir., July 30, 1997) (“private attorneys are not considered to be

state actors”).

                  Nevertheless, the actions of private individuals and entities can constitute state action

where a private individual’s conduct “is fairly attributable to the state.”           Lindsey v. Detroit

Entertainment, LLC, 484 F.3d 824, 827 (6th Cir. 2007). The Sixth Circuit has articulated three

separate tests for determining whether conduct taken by a private individual constitutes state action:

(1) the public function test; (2) the state compulsion test; and (3) the symbiotic relationship or nexus

test. Id. at 827-28. Plaintiff has failed to present evidence which would satisfy any of these

standards.    Accordingly, the undersigned recommends that Defendant’s motion for summary

judgment be granted.

                  II.    Standing

                  Article III, § 2 of the United States Constitution provides that the “judicial Power” of

the United States extends only to “Cases” and “Controversies.” Because the terms “case” and
                                             -4-
Case 1:19-cv-00445-JTN-SJB ECF No. 15 filed 09/05/19 PageID.214 Page 5 of 6




“controversy” conceivably encompass many matters more appropriately addressed by the executive

or legislative branches of government, these terms have been interpreted as referring to those “cases

and controversies of the sort traditionally amenable to, and resolved by, the judicial process.” Steel

Company v. Citizens for a Better Environment, 523 U.S. 83, 102 (1998). One element of the case or

controversy requirement is that plaintiffs must establish that they have standing to pursue a particular

claim. See Raines v. Byrd, 521 U.S. 811, 818 (1997).

               To establish standing to litigate a particular matter, a plaintiff must satisfy three

requirements. See Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992). First, the plaintiff must

have suffered an “injury in fact,” defined as “an invasion of a legally protected interest” that is

“concrete and particularized” and “actual or imminent, not conjectural or hypothetical.” The plaintiff

must next establish “a causal connection between the injury and the conduct complained of.” In other

words, the plaintiff’s injury must be “fairly. . .trace[able] to the challenged action of the defendant,

and not. . .th[e] result [of] the independent action of some third party not before the court.” Ibid.

The plaintiff must also establish a likelihood that his injury will be “redressed by a favorable decision.”

Id. at 561.

               The standing requirement is not to be lightly disregarded. As the Supreme Court

stated, “[w]e have always insisted on strict compliance with the jurisdictional standing requirement”

because “federal courts may exercise power only ‘in the last resort, and as a necessity.’” Raines, 521

U.S. at 819. Finally, Plaintiff bears the burden of establishing that he has standing to assert his claims

in a federal forum. See Lujan, 504 U.S. at 561.

               Plaintiff has presented no evidence that his Sixth Amendment rights were violated. To

the extent that his son’s Sixth Amendment rights were allegedly violated, Plaintiff lacks standing to


                                                   -5-
Case 1:19-cv-00445-JTN-SJB ECF No. 15 filed 09/05/19 PageID.215 Page 6 of 6




pursue any such claims.        Accordingly, the undersigned recommends, in the alternative, that

Defendant’s motions for summary judgment be granted on the ground that Plaintiff lacks standing thus

depriving the Court of jurisdiction to hear this matter. See, e.g., Keen v. Helson, 930 F.3d 799, 802

(6th Cir. 2019) (“[i]f the plaintiff lacks standing, then the court lacks jurisdiction”).

                                             CONCLUSION

                For the reasons articulated herein, the undersigned recommends that Defendant’s

Motion for Summary Judgment, (ECF No. 10), be granted and this matter terminated.

                OBJECTIONS to this Report and Recommendation must be filed with the Clerk of

Court within fourteen (14) days of the date of service of this notice. 28 U.S.C. ' 636(b)(1)(C).

Failure to file objections within the specified time waives the right to appeal the District Court=s order.

See Thomas v. Arn, 474 U.S. 140 (1985); United States v. Walters, 638 F.2d 947 (6th Cir.1981).

                                                                Respectfully submitted,



Dated: September 5, 2019                                         /s/ Ellen S. Carmody
                                                                ELLEN S. CARMODY
                                                                U.S. Magistrate Judge




                                                    -6-
